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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



 DAMIEN GUEDES,
              et al.

                    Plaintiffs,
                                                     Case No. 1:18-cv-02988-DLF
        v.
                                                     Judge Friedrich
 BUREAU OF ALCOHOL, TOBACCO
 FIREARMS, AND EXPLOSIVES (“ATF”),
                et al.


                    Defendants.




 FIREARMS POLICY COALITION, Inc.


                    Plaintiff,
                                                     Case No. 1:18-cv-03083-DLF
        v.


 WILLIAM P. BARR,
                       et al.


                    Defendants.




                                    JOINT STATUS REPORT

       Pursuant to the Court’s Order of February 14, 2019 instructing the parties to file a status

report regarding the impact of the confirmation as Attorney General of William P. Barr on the
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pending motion in this case, Plaintiff Firearms Policy Coalition, Inc. (“FPC”) and Defendants 1

hereby state as follows:

          1.       In its motion for a preliminary injunction, FPC requests two types of relief: (1)

injunctive and declaratory relief preventing the Final Rule at issue in these cases, Bump-Stock-Type

Devices, 83 Fed. Reg. 66514 (Dec. 26, 2018) (the “Final Rule”) from taking effect, and (2) injunctive

relief preventing Matthew G. Whitaker from exercising authority as the Acting Attorney General.

          2.       The parties agree that the confirmation of Attorney General Barr does not presently

affect FPC’s request for injunctive and declaratory relief preventing the Final Rule from taking

effect.

          3.       If Attorney General Barr were to take further action related to the Final Rule, such

as ratifying or re-issuing it, the parties reserve their rights to take an appropriate position regarding

the effect of any such action on the pending motion at that time.

          4.       Defendants believe that the confirmation of Attorney General Barr renders moot

FPC’s request for an injunction preventing Matthew G. Whitaker from exercising authority as the

Acting Attorney General. Plaintiff believes that the request is not moot in light of the voluntary

cessation doctrine, but that it is likely unnecessary for the Court to reach that issue at this time, as

the dispute regarding the Final Rule remains unaffected by Attorney General Barr’s confirmation.

          5.       The parties agree to reserve their positions on the effect of Attorney General Barr’s

confirmation on the declaratory relief being requested in the Complaint but not included in the

preliminary injunction motion.




1
 Pursuant to Fed. R. Civ. P. 25(d), Attorney General William P. Barr is being substituted as
Defendant in his official capacity in the place of Matthew G. Whitaker.


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Dated: February 15, 2019            Respectfully submitted,

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